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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 ENZO COSTA, et al.,

                        Plaintiffs,

 v.                                                     Civil Action No. 19-3185 (RDM)

 BARBARA BAZRON, et al.,

                        Defendants.


                    MEMORANDUM OF POINTS AND AUTHORITIES
                IN SUPPORT OF JOINT MOTION TO STAY LITIGATION

       In support of the Parties’ Joint Motion to Stay Litigation, the Parties rely upon:

       1.      Fed. R. Civ. P. 6(b)(1)(A) and (7)(b);

       2.      The existence of good cause, as described in the Motion; and

       3.      The inherent equitable powers of the Court.

       The Parties seek a stay until November 9, 2021 for good cause. The requested stay will

allow the Parties to discuss possible resolution of this matter. Accordingly, the Parties request that

the Court grant the Joint Motion and enter the proposed order.

Dated: August 13, 2021                              Respectfully submitted,

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